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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


MITCHELL WASILEWSKI,
                                                   Case No. 18-12167
             Plaintiff,
                                                   SENIOR U.S. DISTRICT JUDGE
v.                                                 ARTHUR J. TARNOW

SILVERSTAR DELIVERY, ET AL.,                       U.S. MAGISTRATE JUDGE
                                                   ELIZABETH A. STAFFORD
             Defendants.

                                      /

     ORDER GRANTING THE PARTIES’ JOINT MOTION FOR AN APPROVAL OF
            SETTLEMENT [12] AND APPROVING THE SETTLEMENT

      Both Plaintiff and Defendants move the Court to approve their March 14,

2019 settlement of this Fair Labor Standards Act (“FLSA”) case. Considering the

congressional intent of the Fair Labor Standards Act of 1938, the Supreme Court in

1945 held that FLSA settlements must be approved by either a court or the

Department of Labor. See Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697 (1945). The

judicial approval requirement to FLSA settlements was animated by the principle

that a private cause of action could not be waived if such a waiver “contravenes the

statutory policy.” Id. at 704.




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      “To approve such a settlement, the court must conclude that it fairly and

reasonably resolves a bona fide dispute over FLSA provisions and that the lawsuit

has in fact provided the adversarial context to protect the employee's interests from

employer overreaching.” Thompson v. United Stone, LLC, 2015 U.S. Dist. LEXIS

24741, *3 (E.D. Tenn. Feb. 9, 2015) (citing Lynn's Food Stores, Inc. v. United States,

679 F.2d 1350, 1354-55 (11th Cir. 1982)). In the class action context, the Sixth

Circuit has held that, “Before approving a settlement, a district court must conclude

that it is ‘fair, reasonable, and adequate.’” UAW v. GMC, 497 F.3d 615, 631 (6th Cir.

2007).

      This case was never certified as a class action, however. A nearly identical

suit is proceeding as a class action in Aaron Smith v. Silverstar Delivery Ltd., No.

2:18-cv-10501-DML-RSW (E.D. Mich. Feb. 12, 2018). In such a case as this one,

where the class’s interests are not at issue, no public policy reason for rejecting the

settlement has been raised, and both employer and employee are represented by

counsel, some courts have found that judicial approval is not necessary.

Lliguichuzhca v. Cinema 60, L.L.C., 948 F.Supp.2d 362 (S.D.N.Y. 2013).

Nevertheless, absent some authority in this Circuit holding that judicial approval is

no longer necessary, it is understandable that the parties seek approval to protect

their settlement.

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      Having reviewed the March 14, 2019 Settlement, the Court finds that it

resulted from an arms-length negotiation in an adversarial context.

      Accordingly,

      IT IS ORDERED that the Parties Joint Motion for an Approval of

Settlement [12] is GRANTED.

      IT IS FURTHER ORDERED that the Parties’ March 14, 2019 Settlement

is APPROVED.

      SO ORDERED.




                                      s/Arthur J. Tarnow
                                      Arthur J. Tarnow
Dated: April 16, 2019                 Senior United States District Judge




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